




Dismissed and Memorandum Opinion filed July 3, 2008








Dismissed
and Memorandum Opinion filed July 3, 2008.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00396-CV

____________

&nbsp;

AMBRIZ K. MACK,
Appellant

&nbsp;

V.

&nbsp;

UNIFUND CCR PARTNERS,
Appellee

&nbsp;



&nbsp;

On Appeal from County Civil Court
at Law No. 4

Harris County, Texas

Trial Court Cause No.
903253

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is an attempted appeal from a judgment signed January
30, 2008.&nbsp; A motion to vacate was filed April 23, 2008.&nbsp; Appellant=s notice of appeal
was filed April 30, 2008.

The notice of appeal must be filed within thirty days after
the judgment is signed when appellant has not filed a timely motion for new
trial, motion to modify the judgment, motion to reinstate, or request for
findings of fact and conclusion of law.&nbsp; See Tex. R. App. P. 26.1








Appellant=s notice of appeal was not filed timely. A
motion for extension of time is necessarily implied when an appellant, acting
in good faith, files a notice of appeal beyond the time allowed by rule 26.1,
but within the fifteen-day grace period provided by Rule 26.3 for filing a
motion for extension of time.&nbsp; See Verburgt v. Dorner, 959 S.W.2d 615,
617-18 (Tex. 1997) (construing the predecessor to Rule 26).&nbsp; However, the
appellant must offer a reasonable explanation for failing to file the notice of
appeal in a timely manner.&nbsp; See Tex.
R. App. P. 26.3, 10.5(b)(1)(C); Verburgt, 959 S.W.2d at 617-18.&nbsp;
Appellant=s notice of appeal was not filed within the
fifteen-day period provided by rule 26.3

On May 29, 2008, notification was transmitted to all
parties of the Court=s intent to dismiss the appeal for want of
jurisdiction.&nbsp; See Tex. R. App.
P. 42.3(a).&nbsp; Appellant filed no response.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed July 3, 2008.

Panel consists of Justices Frost,
Seymore, and Guzman.





